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                       UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF NEW HAMPSHIRE
____________________________________
In re                                 )
    Misty Mountain Farm, LLC,         )        Bk. No. 15-11447-BAH
                                      )        Chapter 12
             Debtor                   )
____________________________________)

      ORDER ON APPLICATION OF COUNSEL FOR THE DEBTOR FOR
          FINAL FEES AND REIMBURSEMENT OF EXPENSES
       UPON CONSIDERATION of the Application of Debtor’s Counsel for Final Fees and

Reimbursement of Expenses filed by the debtor’s legal counsel Leonard Deming Esquire

(Deming Law Office) in the above-captioned matter and after opportunity for a hearing, and in

consideration of the premises, it is

ORDERED AND ADJUDGED:


       Counsel for Debtor Leonard Deming (Deming Law Office) shall be allowed Final

Fees for the Application Period (May 27, 2015 through March 15, 2021) in the amount of

Twenty-one Thousand Eight Hundred Thirty-five and 00/100 Dollars ($21, 835.00) and

authorization for reimbursement of expenses in the amount of Forty-two and 54/100

Dollars ($42.54). After application of the Debtor’s retainer in the amount of Five

Thousand Fifty-five Dollars ($5,055.00) previously paid and credited to the Debtor,

interim allowance payments through the plan, and payments made directly by the Debtor

in the amount of Sixteen Thousand Eight Hundred Thirty-six and 74/100 Dollars

($16,836.74), Deming Law Office is allowed a net payment of compensation and

expenses in the amount of Five Thousand Seven Forty and 80/100 Dollars ($5,040.80).

                                                     BY THE COURT

April 15, 2021
___________________                                  /s/ Bruce A. Harwood
                                                     ___________________________
Date                                                 Bruce A. Harwood
                                                     Chief Bankruptcy Judge
